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December 23, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:     Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH

Dear Judge Hixson:

        The parties jointly submit this supplemental letter brief concerning issues related to
Plaintiffs’ RFP No. 118 addressed during the December 19, 2024 discovery hearing before Your
Honor.
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    II.      META’S STATEMENT
       The Court should deny Plaintiffs’ motion for multiple reasons: Plaintiffs have disregarded
the Court’s order (Dkt. 351) by failing to narrow the relief requested in Dkt. 308; the requested
materials do not fall under RFP 118; and Plaintiffs’ requested relief is unwarranted, including
because it calls for vague information that is of minimal relevance and would disproportionately
burden Meta—particularly given the belated nature of Plaintiffs’ request.
          A. Plaintiffs’ Revisionist Reframing of Dkt. 308 Should be Disregarded.
        Plaintiffs’ brief is not, in fact, a supplemental brief regarding Dkt. 308 but an entirely new,
time-barred request for broader relief: amorphous “Supervised Fine-Tuning” (“SFT”) data, which
Plaintiffs loosely characterize as post-training datasets, as well as “the raw/original data from
which these post-training datasets were created.” This approach disregards the Court’s specific
directive following the December 19, 2024 hearing: to identify the “particular data referred to” in
certain sections of the Llama 2 and 3 papers given that at the hearing “Plaintiffs made clear they
want certain particular data referred to in those sections, not all of it.” Dkt. 351 at 1. Notably,
Plaintiffs’ new request simply posits, without explanation, that the data they now seek
“corresponds” or “likely corresponds” to the Llama papers at issue in Dkt. 308. But the cited
Llama paper sections contradict Plaintiffs’ characterizations of them—the descriptions of SFT data
in the papers have nothing to do with books.2 .
        To justify their deviation from the Court’s directive, Plaintiffs allege that after they filed
Dkt. 308 on December 4, they received allegedly “new information”—namely, the deposition of
Mr. Bashlykov and an additional production of source code. They also seek to minimize Dkt.
308’s reliance on the Llama papers—papers that the Court took the time to parse, but that Plaintiffs
were unprepared to discuss at the hearing—claiming, falsely, that Dkt. 308 merely “referred
conceptually to sections of the Llama 2 and 3 papers,” which were merely “a guidepost” for their
requests. This argument is belied by Dkt. 308 and the Llama papers, and should be rejected.
         Mr. Bashlykov was deposed on December 5 and 6—approximately two weeks before the
December 19 hearing and the December 20 deadline for filing a discovery motion. If his testimony
were relevant to the present motion, Plaintiffs could have and should have told the Court sooner,
including at the December 19 hearing. Instead, as Plaintiffs’ “supplemental brief” acknowledges,
one of their multiple December 20 motions to compel separately seeks the information. See Dkt.
356 at 1–2 (seeking “Supervised Fine-Tuning Data”). As set forth in Meta’s opposition to Dkt.
356, that request should be denied, including because RFP 118 “is directed to documents
describing or showing ‘efforts, attempts, and measures,’” regarding mitigation and “does not ask
for training data of any kind.” Dkt. 356 at 3–4. In all events, Mr. Bashlykov’s testimony does not
refer to a subset of the data described in the Llama papers and thus has no bearing on this brief.
       The source code production referred to by Plaintiffs occurred on December 2—before they
filed Dkt. 308, not after. See Dkt. 308 at 3 (Plaintiffs, acknowledging production prior to Dkt.

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 See Llama 2 § 3.1 (see Table 5, an example of SFT data), § 4.2 (distinguishing between different types of
safety finetuning, only one of which is SFT and describing use of “adversarial prompts and safe
demonstrations,” not books); Llama 3 § 4.2.2 (describing data “largely comprised of… prompts from our
human annotation collection with rejection-sampled responses… [and] Synthetic data targeting specific
capabilities”), § 5.4.3 (describing use of data from Llama 2 SFT and a like dataset of prompts and
demonstrations with “borderline” examples), § 5.4.7 (referring to similar “prompt and response” examples).


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308’s filing). And, again, that production has no bearing on this brief, as it does not involve
narrowing the universe of data referred to in the Llama papers to a more discrete set of allegedly
relevant information—i.e., what the Court ordered Plaintiffs to brief. Instead, Plaintiffs use the
source code produced prior to their filing of Dkt. 308 as a claimed basis for broadening their ask
to include “the raw/original data from which these post-training datasets were created.”
       Because Plaintiffs now seek broader and different relief from that sought in Dkt. 308, rather
than narrowing the datasets cited in the Llama papers as ordered, their request should be denied.
       B. RFP 118 Does Not Cover the “Supervised Fine-Tuning Data Now Requested.
        Critical to a resolution of Dkt. 308 is the actual text of RFP 118, which does not seek any
training data, including the “Supervised Fine-Tuning Data” that Plaintiffs now request. To the
contrary, RFP 118 seeks: “All Documents and Communications, including source code, relating
to any efforts, attempts, or measures implemented by Meta to prevent Llama Models from emitting
or outputting copyrighted material.” Ex. A to Dkt. 308. As this RFP calls for, Meta has produced
documents showing “efforts, attempts, or measures” to prevent data memorization.
        Notably, training data was the subject of other, earlier document requests by Plaintiffs—
namely, RFPs 1–3, served nearly a year ago on December 27, 2023, which sought “The Training
Data” for Llama 1–3. See Ex. D at 10. Those year-old requests defined “Training Data” to include
the very information Plaintiffs now seek: “textual or other material used, or considered for use, as
input to a machine-learning model… during any phase of its development, including pretraining,
training, validation, testing, fine-tuning, and alignment.” Id. at 4 (emphasis added). Plaintiffs did
file a motion to compel on RFPs 1-3 – but did not request post-training data – which the Court
denied on November 25. See Dkt. 288. Any further motion regarding these requests is untimely.
See Dkt. 253 (confirming October 23 deadline for motions regarding “existing written discovery”).
       This Court has made clear that the parties are not at liberty to rewrite their RFPs in the
course of briefing motions to compel, and that relief will only be ordered if an RFP actually seeks
what a party moves for. See, e.g., Dkt. 351 (denying request for “things not requested by this
RFP”). The Court should follow that approach here. RFP 118 does not seek “Supervised Fine-
Tuning” data and thus it does not and cannot support Plaintiffs’ requested relief.
       C. Plaintiffs’ Requested Relief Is Unwarranted.
       Notwithstanding, Plaintiffs’ request for all “Supervised Fine-Tuning” data is unwarranted.
The vague information sought is of marginal relevance at most and would impose a hugely
disproportionate burden on Meta to locate, collect, and produce. Plaintiffs have all the information
they need for their case without wading into this burdensome and tangential territory so late.
        As an initial matter, Plaintiffs’ current requested relief, in addition to being different from
and broader than what they sought in Dkt. 308, remains highly vague. It thus would require
significant effort by Meta to even determine what it is Plaintiffs seek, let alone actually collect,
review and produce the information. For example, two of the three categories described by
Plaintiffs (supra at 2) involve the term “shadow datasets,” and as this Court has observed, that
term is in the eye of the beholder. See Dkt. 315 at 7–8. Plaintiffs also fail to explain what they
mean by “datasets that are used for other safety and CRS categories,” let alone how those have
any relevance to the issues presented by their sole claim in this lawsuit.
       Plaintiffs also claim that their supposed relevance arguments were “fully briefed at Dkt.
No. 308,” but then provide new relevance arguments that they have not made previously. These


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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 23, 2024
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